           Case 1:16-cr-00176-DAD-BAM Document 90 Filed 11/22/16 Page 1 of 2


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7    Attorneys for Plaintiff
     United States of America
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9
                                   IN THE UNITED STATES DISTRICT COURT
10
                                      EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                            CASE NO. 1:16-CR-00176 DAD
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                                  Plaintiff,              STIPULATION TO EXTEND GOVERNMENT’S
14                                                        TIME TO FILE A RESPONSE; ORDER
                            v.
15
     DEJOHN WILEY, ET AL,
16
                                 Defendant.
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            IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States Attorney and
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     Kimberly A. Sanchez and Christopher D. Baker, Assistant U.S. Attorneys and W. Scott Quinlan, attorney for
20
     the Defendant, that the deadline for the government’s response to the Defendant’s Motion for Modification
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     of Protective Order under F.R.Crim.P. 45 be extended from November 28, 2016 to December 2, 2016 with
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     any reply due on December 6, 2016. The government is requesting the additional time due to the
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     Thanksgiving holiday. The first status conference for the case is set for December 12, 2016 at 12:15 p.m.
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     before the Honorable Barbara A. McAuliffe. There is no request to change that date.
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26
            Dated: November 21, 2016                               Respectfully submitted,
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                                                                   PHILLIP A. TALBERT
28                                                                 Acting United States Attorney


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          Case 1:16-cr-00176-DAD-BAM Document 90 Filed 11/22/16 Page 2 of 2


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2                                            By      /s/ Kimberly A. Sanchez
                                                     KIMBERLY A. SANCHEZ
3                                                    CHRISTOPHER D. BAKER
                                                     Assistant U.S. Attorneys
4

5         Dated: November 21, 2016                   /s/ W. Scott Quinlan
                                                     W. SCOTT QUINLAN
6                                                    Attorney for Defendant

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                                       ORDER
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     IT IS SO ORDERED.
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10     Dated:   November 22, 2016                 /s/ Barbara A. McAuliffe      _
11                                         UNITED STATES MAGISTRATE JUDGE

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